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                           IN THE UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                                    CASE NO.: 20-cv-22463-FAM


   ASHLEY HODSON,

          Plaintiff,

   v.

   MSC CRUISES, S.A.,

         Defendant.
   ________________________________________/


                       DEFENDANT’S SUPPLEMENTAL RESPONSES TO
                         PLAINTIFF’S INITIAL INTERROGATORIES

          Defendant, MSC CRUISES, S.A. (“MSC” or “Defendant”), hereby serves its
   Supplemental Responses to Plaintiff’s Initial Interrogatories.


                                   CERTIFICATE OF SERVICE

          WE HEREBY CERTIFY that a true and correct copy of the foregoing was sent via

   Electronic Mail to all parties on the attached service list this 3rd day of December 2020.


                                                        Respectfully submitted,

                                                        MALTZMAN & PARTNERS, P.A.

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                              CASE NO.: 20-cv-22463-FAM

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                                  SUPPLEMENTAL RESPONSES

      2. List the full name, phone number, and physical address of each person(s) who has given a
         statement concerning any issue raised by the pleadings in this case.

   RESPONSE: Plaintiff provided a written statement to Safety Officer Marcello Ercolano,
   which has already been produced. Plaintiff presumably made an oral statement to the
   medical center staff.


      8. For a time period beginning five (5) years prior to the date of the Plaintiff's incident, and
         one (1) year subsequent, identify and describe all incidents, complaints of incidents,
         records of incidents, claims of incidents, or recollections of incidents similar to the
         Plaintiff's incident, i.e. slips and falls of passengers, crew members or other persons on the
         subject stairs and/or other stairs with substantially-similar flooring on the MSC Seaside and
         its sister ships. Additionally, please provide contact information (phone number, e-
         mail, physical address) for the individuals identified.

   RESPONSE: Per the agreement of counsel for both Parties, Defendant responds as to slip
   and falls due to water on the nosing of the stairs in the subject area of the MSC Seaside and
   her sister ships for three years prior to Plaintiff’s alleged incident:

   On July 12, 2018 at approximately 12:10 a.m., a passenger allegedly slipped on the “wet
   medal [sic] part of stairs” going down to Deck 15 aboard the Seaside. The passenger did not
   indicate the nature or source of the substance that allegedly caused the area to be “wet.” He
   did not report the alleged incident until July 13 so MSC was unable to conduct a proper
   investigation.

   Notwithstanding Defendant’s response, Defendant objects that this Interrogatory is
   overbroad as to time and scope, unduly burdensome, encompasses potential incidents that
   are not relevant to any party’s claim or defense, and is disproportionate to the needs of the
   case. Requesting Defendant search vessels other than Seaside is so overbroad that it renders
   the request irrelevant to any party’s claim or defense and would be disproportional to the
   needs of the case. Different vessels have differing designs and configurations, are exposed to
   different climates and conditions, and are differing ages. Ships other than the subject vessel
   are therefore not substantially similar to the vessel in question and irrelevant to any party’s
   claim or defense. The Interrogatory is overbroad as to time, as five years is overbroad and
   the Interrogatory continues into the future. Incidents after Plaintiff’s alleged incident are
   irrelevant to this lawsuit. Furthermore, this Interrogatory is ambiguous as to the physical
   scope requested. In addition, this Interrogatory encompasses potential incidents that are not
   relevant to any party’s claim or defense. The request includes every incident regardless of
   the mechanism of the incident. Plaintiff alleged that she fell because of a deformed carpet on
   the steps between deck 17 and 16, but the request encompasses any trip and fall regardless
   of similarity to Plaintiff’s incident. Defendant also objects to providing the name and contact
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   information of other passengers as it violates U.S. and international privacy laws, including
   the Health Insurance Portability and Accountability Act and Florida State Laws.

      9. For a time period beginning five (5) years prior to the date of the Plaintiff's incident, and
         one (1) year subsequent, identify and describe all incidents, complaints of incidents,
         records of incidents, claims of incidents, or recollections of incidents similar to the
         Plaintiff's incident, i.e. slips and falls of passengers, crew members or other persons injured
         on the subject stairs and/or other stairs with substantially-similar flooring on any cruise
         ship in Defendant’s fleet. Additionally, please provide contact information (phone
         number, e-mail, physical address) for the individuals identified.

   RESPONSE: Per the agreement of counsel for both Parties, Defendant responds as to slip
   and falls due to water on the nosing of the stairs in the subject area of the MSC Seaside and
   her sister ships for three years prior to Plaintiff’s alleged incident:

   On July 12, 2018 at approximately 12:10 a.m., a passenger allegedly slipped on the “wet
   medal [sic] part of stairs” going down to Deck 15 aboard the Seaside. The passenger did not
   indicate the nature or source of the substance that allegedly caused the area to be “wet.” He
   did not report the alleged incident until July 13 so MSC was unable to conduct a proper
   investigation.

   Notwithstanding Defendant’s response, Defendant objects that this Interrogatory is
   overbroad as to time and scope, unduly burdensome, encompasses potential incidents that
   are not relevant to any party’s claim or defense, and is disproportionate to the needs of the
   case. Requesting Defendant search every vessel fleetwide is so overbroad that it renders the
   request irrelevant to any party’s claim or defense and would be disproportional to the needs
   of the case. Different vessels in MSC’s fleet have differing designs and configurations, are
   exposed to different climates and conditions, and are differing ages. They are built by
   different ship builders in different countries. Ships other than the subject vessel are therefore
   not substantially similar to the vessel in question and irrelevant to any party’s claim or
   defense. The Interrogatory is overbroad as to time, as five years is overbroad and the
   Interrogatory continues into the future. Incidents after Plaintiff’s alleged incident are
   irrelevant to this lawsuit. Furthermore, this Interrogatory is ambiguous as to the physical
   scope requested. In addition, this Interrogatory encompasses potential incidents that are not
   relevant to any party’s claim or defense. The request includes every trip and fall incident
   regardless of the mechanism of the incident. Plaintiff alleged that she fell because of a
   deformed carpet on the steps between deck 17 and 16, but the request encompasses any trip
   and fall regardless of similarity to Plaintiff’s incident. Defendant also objects to providing
   the name and contact information of other passengers as it violates U.S. and international
   privacy laws, including the Health Insurance Portability and Accountability Act and Florida
   State Laws.

      10. For the date of the accident, provide any and all slip and fall or trip and fall accidents which
          happened on that day, involving the subject area and/or or other stairs with substantially
          similar flooring on the MSC Seaside. Additionally, please provide contact information
          (phone number, e-mail, physical address) for the individuals identified.
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   RESPONSE: None.


      16. Please name and/or type of material which makes up the flooring and/or floor covering in
          the subject area.

   RESPONSE: The carpeting of the subject stairs is Dansk Wilton Plain Carpet in Col. 104
   (aubergine).
